        Case 1:20-cv-01154-JRR Document 25 Filed 02/10/22 Page 1 of 12



                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                             NORTHERN DIVISION

STEVEN MONTGOMERY                )
                                 )
           Plaintiff,            )
                                 )
                                 )
           v.                    )               Civil No.   1:20-cv-1154-RDB
                                 )
CROTHALL HEALTHCARE, INC.        )
                                 )
           Defendant.            )
                                 )
                                 )
_________________________________)


   PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION
                    FOR A PR OTECTIVE ORDER

       Plaintiff Steven Montgomery (“Plaintiff” or “Mr. Montgomery”), through his

undersigned counsel, respectfully submits his Response in Opposition to Defendant

Crothall Healthcare, Inc.’s (“Defendant” or “Crothall”) Motion for a Protective Order in

connection with Plaintiff’s Notice of Deposition pursuant to Federal Rule of Civil

Procedure 30(b)(6). The parties, through counsel, conferred on the issues before the Court

and were unable to come to an agreement despite their efforts [See ECF 23-2 LR 104.7

Certification].

       The parties’ discovery dispute focuses on if, and to what extent, Defendant may bar

the Plaintiff from discovering facts that call one of Defendant’s defenses into question.

Specifically, Defendant has introduced a declaration from Scott Wise that walks the reader

through how and when Defendant Crothall reported Plaintiff Steven Montgomery’s
        Case 1:20-cv-01154-JRR Document 25 Filed 02/10/22 Page 2 of 12



employment and post-employment status internally from 2011 through April of 2015 and

why those changes occurred in its various databases [See ECF No. 23-6 Declaration of

Scott Wise]. Defendant now seeks to improperly prevent the Plaintiff from attacking those

assertions by baring the Plaintiff from discovering how and when Defendant Crothall

reported Plaintiff Steven Montgomery’s employment and post-employment status to

various outside adjudicative bodies from 2011 through April of 2015 and why they reported

what they reported.

       Essentially, Defendant baldly believes that the Declaration of Scott Wise is

dispositive to the case [ECF 23-1 FN3] and does not want any facts that would call the

Declaration into question introduced into evidence (or even discovered) including any

inconsistencies between what was reported internally in its database and what was reported

externally to various adjudicative bodies.

       This is a discovery dispute the Court can easily dispose of in the Plaintiff’s favor

through a straight-forward Fed. R. Civ. P. 26(b) analysis.

I.     BACKGROUND

       Plaintiff brings this action against Crothall alleging that that the company retaliated

against him after he filed a Charge of Discrimination in October 2014 by refusing to rehire

him on three separate occasions when he applied for or inquired into employment with

Defendant.

       Plaintiff worked for Defendant from 2011 to June of 2014 when Defendant

terminated his employment. In 2014 Plaintiff filed a Charge of Discrimination claiming
        Case 1:20-cv-01154-JRR Document 25 Filed 02/10/22 Page 3 of 12



disparate treatment on the basis of sex. In attempting to settle his claims, Crothall offered

the Plaintiff $1,000 and reinstatement of his employment in early 2015. Plaintiff made a

counteroffer and before Crothall responded, the Maryland Commission on Civil Rights

(“MCCR”) — the adjudicative body processing and investigating Mr. Montgomery’s

charge — issued a no cause finding heavily relying on Crothall’s assertions that Mr.

Montgomery has not suffered any adverse action because he was still an “active employee”

in their database. Having previously worked for Defendant, having recently been offered

reinstatement, and having been told that he was an active employee in the system, Mr.

Montgomery sought reemployment with Defendant on three separate occasions and was

ignored or affirmatively turned away.

       In 2016 Mr. Montgomery filed a Charge of Discrimination alleging that he suffered

the adverse action of failure to hire in retaliation for filing his initial Charge of

Discrimination in 2014. Subsequently, Mr. Montgomery filed the instant action presently

before the Court.

       During this lawsuit, Crothall has framed that the adverse action that Mr.

Montgomery is alleged to have suffered from was his designation as “ineligible for rehire”

in Defendant’s database. Mr. Montgomery however alleged that the adverse action he

suffered was Defendant’s failure to rehire him despite his qualifications.

II.    PLAINTIFF’S ALLEGATIONS

       A.     Plaintiff’s Underlying Sex Discrimination Charge is the Protected
              Activity That Forms the Basis for the Retaliation Claim Before This
              Court
        Case 1:20-cv-01154-JRR Document 25 Filed 02/10/22 Page 4 of 12



       Plaintiff was employed by Crothall as a Floor Technician/Housekeeper from August

2011 to June 2014 working at Union Memorial Hospital in Baltimore, Maryland. (Compl.

¶¶ 1-13). In March 2014, Crothall granted Plaintiff’s request for leave under the Family

and Medical Leave Act (“FMLA”) from February 21, 2014 until May 15, 2014. (Id. ¶ 17).

Plaintiff returned to work and resumed his full job duties on May 24, 2014. (Id. ¶ 22).

Department Manager Kenny Carrington discharged Plaintiff on June 16, 2014, stating that

his request for light duty could not be accommodated. (Id. ¶¶ 23, 24). Plaintiff told Mr.

Carrington that he neither requested nor required light duty, but Mr. Carrington responded

to Plaintiff to “just go home and figure it out.” (Id. ¶¶ 26-27).

       Plaintiff then made number of attempts to contact Crothall about returning to work,

but those attempts were unsuccessful. (Id. ¶ 28). At a hearing before the Maryland

Department     of   Labor    –   Division    of   Unemployment      Insurance   (“Maryland

Unemployment”) — an adjudicative body — Crothall informed the claims examiner that

Mr. Montgomery “voluntarily quit for personal reasons.” (Id. ¶ 30).

       Plaintiff then filed a Charge of Discrimination on October 30, 2014, claiming that

Crothall had discriminated and discharged him on the basis of his sex. (Id. ¶ 34). At a

subsequent fact-finding conference, Crothall’s managers “repeated the same false

narrative that Mr. Montgomery had failed to return to work after he was asked to provide

a doctor’s note.” (Id. ¶ 37). Crothall also claimed that he remained an “active employee”

in the employee database despite earlier making statements to Maryland Unemployment

that Mr. Montgomery was not an active employee but rather a voluntary quit. (Id. ¶¶ 30-

38).
        Case 1:20-cv-01154-JRR Document 25 Filed 02/10/22 Page 5 of 12



       In early April 2015, Crothall offered Mr. Montgomery reinstatement of his

employment and $1,000 (Id. ¶ 41). Subsequently, on April 8, 2015, the Maryland

Commission on Civil Rights issued a written finding of no probable cause. (Id. ¶ 43).

       B.     Plaintiff Attempts To Get Rehired.

       In late summer of of 2016, Plaintiff communicated with Defendant’s manager

Marlon Davis about an open position (Id. ¶¶ 52-56). Mr. Davis advised Plaintiff that he

could not rehire him because the information in Crothall’s computer system reflected that

Plaintiff was “ineligible for rehire.” (Id.). In the Spring and Summer of 2017, Mr. Davis

told Plaintiff that he was planning to rehire him, but he had to figure out how to “override”

the fact that Plaintiff had been designated “ineligible for rehire” in Crothall’s computer

system. (Id. ¶ 55-58). Plaintiff was not hired by Mr. Davis. (Id.). After learning that

someone else had been hired, Plaintiff allegedly called Mr. Davis on September 17, 2017

and Mr. Davis allegedly told Plaintiff that he was unable to rehire him so long as he

remained designated “ineligible for rehire” in Crothall’s computer system. (Id. ¶ 58).

III.   ARGUMENT

       A.     Standard of Review

       Pursuant to Fed. R. Civ. P. 26(c), a party, upon a showing of good cause, may obtain

from the Court an order to protect the party from annoyance, embarrassment, oppression,

and/or undue burden or expense. See Fed. R. Civ. P. 26(c). Although the good cause

requirement creates a hurdle for proponents, Rule 26(c) “confers broad discretion on the

trial court to decide when a protective order is appropriate and what degree of protection

is required.” Furlow v. U.S., 55 F.Supp.2d 360, 366 (D.Md.1999) (quoting Seattle Times
        Case 1:20-cv-01154-JRR Document 25 Filed 02/10/22 Page 6 of 12



Co. v. Rhinehart, 467 U.S. 20, 36 (1984)). Accordingly, the Court may order, inter alia,

that certain discovery not be had or only on specified terms and conditions. See Fed. R.

Civ. P. 26(c).

       “The party seeking discovery has the burden to establish its relevancy and

proportionality, at which point the burden shifts to the party resisting discovery to

demonstrate why the discovery should not be permitted.” O’Malley v. Trader Joe’s East,

Inc., No. 19-cv-3273, 2020 U.S. Dist. LEXIS 191792, *5-6. (D. Md. Oct. 15, 2020) citing

Mach. Sols., Inc. v. Doosan Infracore Am. Corp., 323 F.R.D. 522, 526 (D.S.C. 2018).

       B.        The Discovery Dispute

       As explained herein, the issue is if, and to what extent, Defendant may bar the

Plaintiff from discovering facts that call one of Defendant’s defenses into question.

Specifically, Defendant has introduced a declaration from Scott Wise that walks the reader

through how and when Defendant Crothall reported Plaintiff Steven Montgomery’s

employment and post-employment status internally from 2011 through April of 2015 and

why those changes occurred in its various databases [See ECF No. 23-6 Declaration of

Scott Wise]. Defendant now seeks to improperly prevent the Plaintiff from attacking those

assertions by baring the Plaintiff from discovering how and when Defendant Crothall

reported Plaintiff Steven Montgomery’s employment and post-employment status to

various outside adjudicative bodies from 2011 through April of 2015 and why they reported

what they reported.

       Essentially, Defendant baldly believes that the Declaration of Scott Wise is

dispositive to the case [ECF 23-1 FN3] and does not want any facts that would call the
        Case 1:20-cv-01154-JRR Document 25 Filed 02/10/22 Page 7 of 12



Declaration into question introduced into evidence (or even discovered) including any

inconsistencies between what was reported internally in its database and what was reported

externally to various adjudicative bodies.

       This is a discovery dispute the Court can easily dispose of in the Plaintiff’s favor

through a straight-forward Fed. R. Civ. P. 26(b) analysis.

       C.     The Specific 30(b)(6) Topics

Plaintiff’s 30(b)(6) Topic 7: Mr. Montgomery’s employment status as reflected in
Crothall’s personnel records from 2014 through today and be able to identify when any
changes occurred and why those changes occurred (the relevant statuses Plaintiff will be
asking about are active employee, voluntary quit, terminated, ineligible for re-hire (or
similar).

CROTHALL’S OBJECTIONS: Crothall objects to the phrase “personnel records”
because it is vague and ambiguous, and subject to multiple interpretations. Crothall also
objects to this Topic on the grounds that it will not litigate or relitigate Plaintiff’s
underlying discrimination claims. As such, it will not designate a corporate representative
to discuss ‘why” any changes were made. Nonetheless, Crothall will designate Scott Wise
to discuss how Plaintiff’s employment status information is recorded and reflected in
Crothall’s IT personnel systems, including when such changes occurred.

[Deficiency of Crothall’s Objection]: Defendant’s objection that providing discoverable
information as to the changes in Mr. Montgomery’s employment status is akin to
relitigating the issue does not hold water. Mr. Montgomery alleged that his employment
status with Defendant went from employed to voluntary quit back to active employee to
ineligible for re- hire. Those changes and “why” associated with them are absolutely
discoverable given that his employment status and the changes thereto are at the heart of
the adverse action suffered by Mr. Montgomery and therefore, we expect the witness to
testify to this subject.

Plaintiff’s 30(b)(6) Topic 8: The factual basis for Crothall’s assertion made to the
Maryland Department of Labor Division of Unemployment Insurance that Mr.
Montgomery voluntarily quit.

Plaintiff’s 30(b)(6) Topic 9: The factual basis for Crothall’s assertion made to the
Maryland Commission on Civil Rights (MCCR) that Mr. Montgomery remained an active
employee.
        Case 1:20-cv-01154-JRR Document 25 Filed 02/10/22 Page 8 of 12



CROTHALL’S OBJECTION TO BOTH TOPICS: Crothall objects to this Topic
because it is not relevant to “any party’s claim or defense.” Fed. R. Civ. P. 26(b)(1). In that
regard, this topic relates to an unemployment hearing, a discrimination claim that was never
pursued in court by Plaintiff, and a claim that the Court has already dismissed, and Crothall
will not litigate or relitigate this issue. See Proa v. NRT Mid- Atlantic, Inc., No. 5-cv-2157,
2018 U.S. Dist. LEXIS 129572 (D. Md. June 20, 2008) (struck corporate deposition topic
related to dismissed claim); Reid v. Temple Univ. Hosp. Inc., No. 17-cv- 2197, 2019 WL
952306, at *1 (E.D. Pa. Feb. 27, 2019) (struck corporate deposition topic related to
dismissed claim). Crothall, relatedly, objects to this Topic because it is not “proportional
to the needs of the case[.]” Fed. R. Civ. P. 26(b)(1). That is, Plaintiff’s (unfounded) belief
that his former managers designated him as “ineligible for rehire” in its personnel system
is verifiably false, and Crothall has identified a corporate designee to discuss that Topic.

[Deficiency of Crothall’s Objections]: Defendant’s objection that providing
discoverable information as to the changes in Mr. Montgomery’s employment status is akin
to relitigating the issue does not hold water. Mr. Montgomery alleged that his employment
status with Defendant went from employed to voluntary quit back to active employee to
ineligible for re- hire. Those changes and “why” associated with them are absolutely
discoverable given that his employment status and the changes thereto are at the heart of
the adverse action suffered by Mr. Montgomery and therefore, we expect the witness to
testify to this subject

       D.     Relevancy of the Discovery Sought

       Defendant claims that the discovery sought is irrelevant. Plaintiff advances the

following arguments with respect to relevancy:

       Mr. Montgomery alleged — and uncovered — Defendant’s corporate practice (or

pattern) of knowingly lying and/or being intentionally misleading to adjudicative bodies

with respect to his employment status [Complaint ECF No.1 ¶¶ 28-46]. Specifically, Mr.

Montgomery alleged that after he was terminated by Crothall in 2014, they falsely

informed Maryland Department of Labor, Division of Unemployment Insurance

(“Maryland Unemployment”) that Mr. Montgomery’s termination of employment was a

result of a voluntarily quit. [EXHIBIT A - SMONTGOMERY 017-024]. Crothall made

that assertion in July of 2014. [Id.]
        Case 1:20-cv-01154-JRR Document 25 Filed 02/10/22 Page 9 of 12



       Remarkably, approximately six (6) months later — in responding to Mr.

Montgomery’s Charge of Discrimination — Crothall changed its tune and told the

Maryland Commission of Civil Rights (“MCCR”) — another adjudicative body — that

Mr. Montgomery’s employment had not terminated, and he was still an active employee

with Defendant. [EXHIBIT B Crothall 1494-1524 Position Statement to MCCR dated

12/22/2014]. This was not an assertion made in passing. This false or misleading statement

was specifically made to give the MCCR the impression that Mr. Montgomery had not

suffered any adverse action, was free to go back to work, and that Mr. Montgomery had

failed adequately state a claim of discrimination. [Id.].

              Then, almost immediately after making the assertion that Mr. Montgomery

was still considered an “active employee” to the MCCR adjudicative body, Crothall

surreptitiously — without notifying the MCCR or Mr. Montgomery — changed Mr.

Montgomery’s status as an active employee to a terminated employee in February of 2015.

[EXHIBIT C - Crothall’s Answers to Interrogatories No. 12]. However, Crothall did not

stop there, they then actually retroactively changed Mr. Montgomery’s termination date

back to July of 2014 [Id.].

       In April of 2015, the MCCR issued a no cause finding. [EXHIBIT D

MONTGOMERY 025-035]. Their statement of written findings heavily relied on

Crothall’s assertions that Mr. Montgomery was still considered an active employee. [Id.].

Also in April of 2015, Crothall marked Mr. Montgomery’s rehire status as “none.” [See

ECF No. 23-6 - Declaration of Scott Wise exhibit A2].
        Case 1:20-cv-01154-JRR Document 25 Filed 02/10/22 Page 10 of 12



       Now, before this adjudicative body, Crothall continues to make self-serving

assertions with respect to Mr. Montgomery’s employment status. Crothall has submitted a

declaration that walks the reader through Mr. Montgomery’s employment status in its

computer systems from 2011 to 2015 [Id.] and asserts that because of this declaration “. .

.the court will likely grant Crothall’s upcoming motion for summary judgment.” [ECF No.

23-1 FN 3]. Defendant wants to highlight and selectively use the history of Mr.

Montgomery’s employment status with Defendant to prove its case but wants to bar

Plaintiff from discovering facts regarding the same, from the same period, to prove

his case or to discredit Defendant’s defense.

       Defendant contends the history and progression of Mr. Montgomery’s employment

status as reported to adjudicative bodies and the reasons for the changes “have absolutely

no bearing” in this case. [ECF 23 – Crothall’s Motion for Protective Order]. Nevertheless,

Defendant relies heavily on the history and progression of Mr. Montgomery’s employment

status as reported in its computer systems to muster a defense. [Id.].

       In short, Defendant has failed to adequately prepare a witness to testify to Mr.

Montgomery’s 30(b)(6) Deposition Notice. The topics in dispute are relevant because:

          • They highlight Defendant’s established corporate pattern or practice of

              making self-serving statements without regard for the truth to adjudicative

              bodies regarding Mr. Montgomery’s employment status.

          • They go to Defendant’s credibility.

          • They call into question Defendant’s defenses.
        Case 1:20-cv-01154-JRR Document 25 Filed 02/10/22 Page 11 of 12



           • Defendant has used selective facts regarding Mr. Montgomery’s

               employment status from the same time period to mount a defense and these

               topics seek additional facts regarding the same from the same time period.

IV.    CONCLUSION

       Based on the foregoing Defendant’s Motion for Protective Order should be denied

and Defendant should be further ordered to prepare a witness to testify to Plaintiff’s

30(b)(6) topics 7, 8, 9 in their entirety.

DATED: 02/10/2022

                                             Respectfully submitted,

                                                          /s/

                                             David Baña (Bar No. 21292)
                                             4305 Saint Paul Street
                                             Baltimore, MD 21218
                                             Tel.: (443) 742-2390
                                             Fax: (410) 670-7573
                                             E-mail: david@davidbana.com

                                             Attorney for Plaintiff Steven Montgomery
        Case 1:20-cv-01154-JRR Document 25 Filed 02/10/22 Page 12 of 12




                             CERTIFICATE OF SERVICE

       I hereby certify that on the 10th day of February 2022, a copy of Plaintiff Steven

Montgomery’s Response in Opposition to Defendant’s Motion for Protective Order was

filed with the Court and delivered via CM/ECF to the following:

Steven E. Kaplan (Md. Fed. Bar #16531)
skaplan@littler.com
Bradley C. Tobias (Md. Fed. Bar # 20782)
btobias@littler.com
815 Connecticut Avenue, N.W., Suite 400
Washington, D.C. 20036
202.842.3400 (telephone)
202.842.0011 (facsimile)

Attorneys for Defendant
                                                 /s/ David Baña
                                                 David Baña

                                                 Attorney for Plaintiff Steven Montgomery
